   Case: 3:22-cv-50115 Document #: 138 Filed: 10/18/24 Page 1 of 4 PageID #:2221




                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS
                                 WESTERN DIVISION

ALEKSEY RUDERMAN, et al.,                      )
                                               )
                       Plaintiffs,             )
                                               )       Case No. 22-cv-50115
               v.                              )
                                               )
MCHENRY COUNTY, et al.,                        )
                                               )       Magistrate Judge Margaret J. Schneider
                       Defendants.             )

                                              ORDER

       Plaintiffs’ Motion to Compel [112] is granted. The parties are directed to comply with the
Court’s order.

                                         BACKGROUND

        Aleksey Ruderman, Jason Clarke, Basaru Asolo, James Forero, and Chris Pocknell
(“Plaintiffs”) brought this putative class action pursuant to the Trafficking Victims Protection Act
and related state law, regarding alleged forced labor in the form of forced cleaning of the McHenry
County jail facilities where Plaintiffs were being detained. [21]. Plaintiffs have filed a motion to
compel regarding a request for production and an interrogatory directed to Defendants McHenry
County, McHenry County Sheriff's Department, Bill Prim, Keith Nygren, Michael Clesceri, Daniel
Sitkie, David Devane, and Daniel Sedlock (“Defendants”) that seeks information that Plaintiffs
claim is relevant to the calculation of damages for the named Plaintiffs and putative class. Plaintiff
issued numerous requests for production and interrogatories to Defendants. However, Plaintiff
takes issue with two of Defendants’ responses to the discovery requests, specifically Request for
Production No. 6 and Interrogatory No. 7. These discovery requests seek information about
janitorial staff and costs for cleaning labor at the McHenry County jail.

         Discovery in this case is ongoing and the previously established fact discovery deadline of
September 26, 2024, has been extended to December 9, 2024, following the filing of the amended
third-party complaint on September 10, 2024. [121, 132]. On August 9, 2024, Plaintiffs filed the
instant motion to compel. [112]. Defendants filed a response on September 6, 2024, and Plaintiffs
filed a reply on September 19, 2024. [117, 126].

                                      LEGAL STANDARD


        Under federal law, parties are allowed broad discovery to investigate facts and clarify
issues. Grayson v. City of Aurora, No. 13 C 1705, 2013 WL 6697769, at *2 (N.D. Ill. Dec. 19,
2013) (citing Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978)). Rule 26(b)(1) gives
broad power to discover information “regarding any nonprivileged matter that is relevant to any
party’s claim or defense.” Fed. R. Civ. P. 26(b)(1). “Relevant information need not be admissible

                                                   1
   Case: 3:22-cv-50115 Document #: 138 Filed: 10/18/24 Page 2 of 4 PageID #:2222




at the trial if the discovery appears reasonably calculated to lead to the discovery of admissible
evidence. Id. Fed. R. Civ. P. 27 governs motions to compel. Under the Rule, the movant is required
to certify that it has tried in good faith to resolve the dispute without court intervention. Rule
37(a)(1). Local Rule 37.2 also requires that counsel consult over the dispute and attempt to reach
an accord. “District courts enjoy broad discretion when considering motions to compel and have
consistently adopted a liberal interpretation of the discovery rule.” Martinez v. Cook County, No.
11 C 1794, 2012 WL 6186601, at *2 (N.D. Ill. Dec. 12, 2012) (citations and quotations omitted).
It is with these standards in mind that the Court considers Plaintiffs’ motion.

                                            DISCUSSION

Request for Production No. 6

        Plaintiffs request for production number 6 asks Defendants to provide “[a]ll documents
reflecting costs relating to cleaning labor” for the relevant time period. In interrogatory responses,
Defendants confirm that they hired Aftermath Services “for biohazard cleanup on an as-needed
basis to clean certain bodily fluids,” but in response to this request for production, Defendants have
argued that it is overly broad, irrelevant, and unduly burdensome.

        Plaintiffs ask this Court to compel Defendants to produce contracts with Aftermath
Services for the relevant time period in response to this request. Defendants continue to argue that
this request is irrelevant to the calculation of damages and that it would be substantially
burdensome to produce the requested contracts as it “could result in the manual search of a
decade’s-worth of documents.” [117 (emphasis added)]

        A party may seek an order to compel discovery when an opposing party fails to respond to
discovery requests. Fed. R. Civ. P. 37(a)(3). The proponent of such a motion “bears the initial
burden of proving that the information sought is relevant.” West v. Miller, 2006 WL 2349988, at
*2 (N.D. Ill. 2006) (citing U.S. v. Lake County Bd. Of Com’rs, No. 2:04 CV 415, 2006 WL 978882,
at *1 (N.D.Ind. Apr. 7, 2006)). Once this relevancy is established, the burden shifts to the party
objecting to the discovery request to show why the request is improper. Trading Technologies
Intern., Inc. v. eSpeed, Inc., No. 04 C 5312, 2005 WL 1300778, at *1 (N.D. Ill. Apr. 28, 2005)
(citing Rubin v. Islamic Republic of Iran, 349 F. Supp. 2d 1108, 1111 (N.D. Ill. 2004)). That burden
cannot be met by “a reflexive invocation of the same baseless, often abused litany that the
requested discovery is vague, ambiguous, overly broad, unduly burdensome or that it is neither
relevant nor reasonably calculated to lead to the discovery of admissible evidence.” Cunningham
v. Smithkline Beecham, 225 F.R.D. 474, 478 (N.D. Ind. 2009) (citing Burkybile v. Mitsubishi
Motors Corp., 2006 WL 2325506, *6 (N.D. Ill. 2006)). Here, Plaintiffs make a sufficient showing
of relevance to shift the burden and Defendants fail to meet their burden of showing why the
request is improper.

         As this case rests on the alleged forced labor of civil immigration detainees cleaning the
jail facilities, the costs associated with cleaning said facilities is relevant to damages. If Plaintiffs
were to prevail on their claims, they may be entitled to restitution for the value of the cleaning
services they provided. Leiva v. Clute, No. 4:19-CV-87-TLS-JPK, 2020 WL 8514822, at *12
(N.D. Ind. Dec. 16, 2020) (“Pursuant to the TVPA, restitution requires compensation for the value
of the services rendered.”) Under the broad definition of relevance for the purposes of discovery,

                                                   2
   Case: 3:22-cv-50115 Document #: 138 Filed: 10/18/24 Page 3 of 4 PageID #:2223




information about what the Defendants paid another company for cleaning services could be
relevant to that calculation. Defendants’ argument that a response to this request for production is
unduly burdensome is unconvincing. Rather than showing such a burden, Defendants argue that a
response “could result in the manual search of a decade’s-worth of documents.” Def.’s Resp. at 3.
However, this Court will not accept such a speculative argument. Rather, affirmative proof of
undue burden is required. See Jenkins v. White Castle Mgmt. Co., 2014 WL 3809763, *2 (N.D. Ill.
2014) (citing Gulf Oil Co. v. Bernard, 452 U.S. 89, 102 n. 16 (1981)) (“Undue burden or expense,
actual or potential, must be shown by a particular and specific demonstration of fact, as
distinguished from stereotyped and conclusory statements.”) (internal quotations omitted).

        Regarding the Aftermath contracts, Plaintiffs have made clear that they are not looking for
a report of each individual request for Aftermath’s work but rather the overarching contracts
outlining the agreement between Aftermath and Defendants. Defendants have failed to show how
such a production would be unduly burdensome. Accordingly, this Court finds that Plaintiffs’
request, limited in this way, is both relevant and proportional to the needs of this case. If necessary,
the parties shall meet and confer to resolve this dispute and come to an agreement as to how this
request can be fulfilled in a way that minimizes the burden of production to Defendants in
responding to Request for Production No. 6.

Interrogatory No. 7

        Plaintiff’s Interrogatory No. 7 asks Defendants to provide Plaintiffs with the number of
janitorial staff responsible for cleaning the detention center, the dates of their employment, and
their salaries for the relevant period. Defendants initially responded to this interrogatory with
objections relating to the vagueness of this request but later provided documentation outlining the
janitorial staff dates of employment, starting and ending hourly wages, and a Collective Bargaining
Agreement (“CBA”).

         Plaintiffs remain unsatisfied with the response from Defendants and ask this Court to
compel Defendants to provide the janitorial staff’s annual wage information. Defendants allege
that this interrogatory has been sufficiently answered with their production of each janitorial staff
member’s starting and current hourly wage as well as the CBA which includes a step schedule for
these employees. Plaintiffs respond that Defendants’ response is lacking because the CBA is not
admissible evidence and does not obviate a need for a written response to the interrogatory.
Plaintiffs further argue that Defendants failed to show any undue burden.

       The Court agrees that information relating to the janitorial staff’s wages is relevant, as
previously discussed with respect to costs of cleaning at the jail. Defendants have not even
attempted to show how producing such information would be unduly burdensome. Defendants
seemingly agree regarding the relevance of this information, as they have provided a partial
response.

        However, Defendants have failed to provide adequate information as it is still unclear to
Plaintiffs what each janitorial staff member was paid each year during the relevant time period.
When necessary, production must be made in “a reasonably usable form” which has not yet been
accomplished. See Fed. R. Civ. P. 34(a)(1)(A). Despite Defendants’ contention, Plaintiffs have not
found a clear way to calculate the requested information from what has been provided so far. As

                                                   3
   Case: 3:22-cv-50115 Document #: 138 Filed: 10/18/24 Page 4 of 4 PageID #:2224




such, Defendants are ordered to provide a response to Interrogatory No. 7 that provides the hourly
wages of their janitorial staff for each relevant year or, as suggested by Plaintiffs, produce records,
such as de-identified payroll records for the 11 employees at issue, that otherwise sufficiently
provides this information to Plaintiffs.

                                          CONCLUSION

       For the foregoing reasons, Plaintiff’s motion to compel is granted.



Date: October 18, 2024                          Enter: ___________________________
                                                       United States Magistrate Judge




                                                  4
